                   IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF NORTH CAROLINA
                         WINSTON-SALEM DIVISION


 In re: Novant Health, Inc.                            LEAD Case No. 1:22-cv-00697
                                                       Consolidated with: 1:22-cv-
                                                       00700-WO-JEP; 1:22-cv-00709-
                                                       WO-JEP, and 1:22-cv-00799-
                                                       WO-JEP


 PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
                  CLASS ACTION SETTLEMENT

      Under Federal Rule of Civil Procedure 23(e), Plaintiffs Keith David Allen, Karyn

Cook, Daymond Cox, Kevin Curry, Meghan Curry, Dr. Richard Nero, David Novack,

Cheryl Taylor, Fernando Valencia, and Natalie Wells-Reye (collectively, “Plaintiffs”)

respectfully move this Court to enter the proposed Order Granting Preliminary Approval

of Class Action Settlement that would (1) preliminarily approve the proposed Settlement

Agreement pursuant to Fed. R. Civ. P. 23(c) and (e); (2) preliminarily and conditionally

certify the proposed Settlement Class; (3) approve the proposed Class Notice; (4)

preliminarily approve Class Counsel and Plaintiffs to represent the Settlement Class; and

(5) schedule a Final Approval Hearing to consider final approval of the proposed

Settlement, and approval of attorneys’ fees, costs, and Service Awards.




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Respectfully submitted this the 12th day of October 2023.

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                            CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2023, I served a copy of the foregoing via

electronic filing in the ECF system.



                                              /s/ Scott C. Harris
                                              Scott C. Harris




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